                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                 )
 In re: Application Pursuant to                  )
 28 U.S.C.§ 1782 of                              )
                                                 )
 FARHAD AZIMA                                    )
                                                 )
                         Petitioner,             )    No. 21 mc-00501-PGG
                                                 )
        v.
                                                 )
 AMIR HANDJANI                                   )
                                                 )
                         Respondent.             )
                                                 )
                                                 )

      DECLARATION
             SUPPLEMENTAL MATERIALS IN SUPPORT OF
APPLICATION FOR ORDER TO TAKE DISCOVERY PURSUANT TO 28 U.S.C. § 1782

       I, Dominic Holden, pursuant to 28 U.S.C. § 1746, do hereby declare under penalty of

perjury the following:

       1.      I am a partner in Burlingtons Legal LLP, an English law firm that represents Farhad

Azima in pending litigation in London. That case is Farhad Azima -v- Ras Al Khaimah Investment

Authority            , Stuart Page, Neil Gerrard, Dechert LLP and James Buchanan HC-2016-

002798 (Business and Property Courts of England and Wales)                                 .

       2.

File Supplemental Materials in Support of Application for Order to Take Discovery Pursuant to

28 U.S.C. § 1782.

       3.      I attach hereto as Exhibit 1 a true and correct copy of

                                                       dence filed in the Supreme Court of the

United Kingdom in Farhad Azima v. Ras Al Khaimah Investment Authority, UKSC Ref No:

2021/0084.
       4.     I attach hereto as Exhibit 2 a true and correct copy of an affidavit of Stuart Page

                                                    on New Evidence.

       5.     I attach hereto as Exhibit 3 a true and correct copy of a list of telephone used by

Neil Gerrard and others. This list was filed in Karam Salah Al Din Awni Al Sadeq v. Dechert

LLP, Neil Gerrard, David Hughes, and Caroline Black, Claim No.: QB-2020-003142.



Executed on 12th day of January, 2021.


                                             _____________________________
                                             Dominic Holden




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